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                                   STATEMENT OF FACTS

        On Tuesday, December 29, 2020, at approximately 6:00 p.m., members of the Metropolitan
Police Department (MPD) Seventh District Crime Suppression Team (7D CST) were on patrol in
a vehicle when they observed two adult, African American males, one of whom was later identified
as Jonathan Johnson (Defendant Johnson), standing next to a parked BMW sedan (D.C. license
plate number BCA129), in front of 3407 13th Place Southeast in Washington, D.C. At that time,
the vehicle was parked such that the passenger side was closest to the curb and the driver’s side
was parallel to the flow of traffic.

         As the officers approached the parked BMW in their vehicle, they had their windows down
and observed PERSON 1 leaning on the car’s front passenger-door area, while Defendant Johnson
was standing toward the rear of the vehicle. When the officers drove closer, Officer Dean observed
the defendant crouch down at the back of the BMW, in front of the rear wheel-well of the car, and
out of view of the officers, while PERSON 1 was standing upright with both hands visible and
resting on the top of the car. While the defendant was crouched down, Officer Dean heard the
sound of a hard, metal object, consistent with that of a firearm, striking the pavement. The officers
quickly parked and exited their vehicle in order to make contact Defendant Johnson who, seconds
later, stood back up. After exiting their vehicle, the officers immediately approached and looked
at the ground around the back wheel-well area of the vehicle, where the defendant was seen
crouching. Officers immediately observed a firearm between the rear tire of the vehicle and the
curb and placed Defendant Johnson under arrest.

       Search incident to arrest, Defendant Johnson was in possession of the vehicle key for the
BMW. A Washington Area Law Enforcement System (WALES) check for the registration of the
vehicle confirmed that the vehicle was registered to Defendant Johnson.

        The recovered firearm was determined to be a Glock, model 23, .40 caliber handgun with
a serial number of BLFE271. When it was recovered, it was loaded with one (1) round in the
chamber and twenty-one (21) rounds in a twenty-two (22) round high capacity magazine.
Additionally, the firearm was equipped with a “giggle switch.” This switch is a modification to
the firearm after manufacturing which enables the firearm to switch from semi-automatic firing to
fully automatic firing with a cross-bolt type switch. When in fully automatic, the firearm will fire
multiple bullets with only one pull of the trigger. There are no firearm or ammunition
manufacturers in the District of Columbia. Therefore, the firearm and ammunition in this case
would have traveled in interstate commerce.
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        A criminal history check of Defendant Johnson through the National Crime Information
Center (NCIC) confirmed that the defendant has a prior felony conviction for Robbery While
Armed and Possession of a Firearm during Crime of Violence in the Superior Court for the District
of Columbia, case number 2008 CF3 27871. The defendant was sentenced to sixty (60) months of
incarceration for this conviction. The defendant is currently on supervision for this conviction.
Therefore, the defendant was aware at the time of his arrest in this case that he had prior convictions
for crimes punishable by more than one year.


                                               _________________________________
                                               OFFICER BRANDON DEAN
                                               METROPOLITAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 31st day of December, 2020.
                                                                          Zia M. Faruqui
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                                                       ___________________________________
                                                       ZIA M. FARUQUI
                                                       U.S. MAGISTRATE JUDGE
